                                                                           FORM 1
                                                                                                                                                  Page No:   1
                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                        ASSET CASES

 Case No.:                      20-47870                                                               Trustee Name:                           Karen E. Evangelista
 Case Name:                     COLUMBUS OIL & GAS, LLC                                                Date Filed (f) or Converted (c):        03/19/2021 (c)
 For the Period Ending:         12/31/2022                                                             §341(a) Meeting Date:                   04/14/2021
                                                                                                       Claims Bar Date:                        06/28/2021
                            1                               2                     3                              4                         5                      6
                   Asset Description                    Petition/             Estimated Net Value            Property              Sales/Funds             Asset Fully
                    (Scheduled and                    Unscheduled            (Value Determined by            Abandoned            Received by the         Administered
               Unscheduled (u) Property)                 Value                      Trustee,           OA =§ 554(a) abandon.          Estate                  (FA)/
                                                                            Less Liens, Exemptions,                                                       Gross Value of
                                                                               and Other Costs)                                                          Remaining Assets

 Ref. #
1      19699 Bulhand Road Calvin Twp                         $40,000.00                        $0.00                                             $0.00                  FA
       MI Cass County,
Asset Notes:    This asset included in asset #5.
2      Eastern Michigan Bank Checking                           $871.10                    $2,240.09                                        $2,240.09                   FA
       8885
Asset Notes:    Asset increased per amended schedules filed on 8/17/2020, docket #36.
3       Accounts receivable Over 90 days                     $67,575.95                   $67,575.95                                             $0.00           $67,575.95
        old: 67,575.95 face amount -
        doubtful or uncollectible account
        0.00 = $67,575.95
4       Office equipment, including all                         $1,000.00                      $0.00                                             $0.00                  FA
        computer equipment and
        communication systems
        equipment and software Office
        equipment, including ll computer
        equipment and communication
        systems equipment and software.
        Misc. items of office equipment.
        $0.00
 Asset Notes:     This asset included in asset #6.
5         Compressor equipment for the                      $300,000.00                 $175,000.00                                       $175,000.00                   FA
          extraction of oil; Compressors;
          Flow pipes for the movement and
          storage of oil; salt water disposal
          system; six (6) 30,000 ga. storage
          tanks; Two phase separators; high
          capacity lift system; Two (2)
          hi-volume injection pumps,
          tubing and valves for the
          extraction , movement and storage
          of oil; flow lines; "down hole"
          equipment for 17 wells. Misc.
          other items of equipment. (Value
          is based on the per item value
          rather than the value of an
          assembled oil operating extraction
          site. Value further does not take
          into consideration the removal
          expense of the items if the
          equipment were sold off on a
          piece-by-piece basis.) $0.00




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                                                                                                SUBTOTALS                 $0.00                     $0.00
                                                                          FORM 1
                                                                                                                                               Page No:    2
                                                      INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                       ASSET CASES

 Case No.:                     20-47870                                                              Trustee Name:                          Karen E. Evangelista
 Case Name:                    COLUMBUS OIL & GAS, LLC                                               Date Filed (f) or Converted (c):       03/19/2021 (c)
 For the Period Ending:        12/31/2022                                                            §341(a) Meeting Date:                  04/14/2021
                                                                                                     Claims Bar Date:                       06/28/2021
                           1                                2                  3                               4                        5                      6
                   Asset Description                    Petition/           Estimated Net Value            Property              Sales/Funds            Asset Fully
                    (Scheduled and                    Unscheduled          (Value Determined by            Abandoned            Received by the        Administered
               Unscheduled (u) Property)                 Value                    Trustee,           OA =§ 554(a) abandon.          Estate                 (FA)/
                                                                          Less Liens, Exemptions,                                                      Gross Value of
                                                                             and Other Costs)                                                         Remaining Assets

6       Confidential reports of the                      $3,000,000.00               $3,000,000.00                                            $0.00       $3,000,000.00
        oilproject, including the Calvin 28
        oil fied report prepared by KADE
        Technologies, and reports by
        Deloitte. (value is based upon the
        actual cost to debtor incurred in
        the preparation of the reports,
        costs of well drilling expenses, as
        well as all site improvements for
        the project in the preparatuion for
        the full scale oil production. The
        value is directly related to the
        leasehold oil and gas lease
        interests held by Debtor which are
        subject to pending litigation.
        $0.00
7       Interests in insurance policies or                      Unknown                      $0.00                                            $0.00                 FA
        annuities Debtor has a claim
        pending in the Cass County
        Circuit Court, Columbus Oil &
        Gas v Grohowski et al,#18-347
        for money damgages, which is
        also subject to a Counter
        Complaint
8       Debtor has a claim pending in the                       Unknown                 $10,000.00                                            $0.00                 FA
        St. Clair County Circuit Court,
        Brettschneider v Columbus Oil &
        Gas, LLC, et al, case no:
        18-002976, against various
        individuals, consisting of a
        Counter Complaint for Tortious
        Interference with Business
        Opportunity, and other claims.
        Nature of claim Amount requested
        $0.00
 Asset Notes:      Assets included in asset #5.




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                                                                                              SUBTOTALS                 $0.00                    $0.00
                                                                            FORM 1
                                                                                                                                                   Page No:   3
                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                         ASSET CASES

 Case No.:                     20-47870                                                                  Trustee Name:                          Karen E. Evangelista
 Case Name:                    COLUMBUS OIL & GAS, LLC                                                   Date Filed (f) or Converted (c):       03/19/2021 (c)
 For the Period Ending:        12/31/2022                                                                §341(a) Meeting Date:                  04/14/2021
                                                                                                         Claims Bar Date:                       06/28/2021
                           1                                  2                    3                               4                        5                     6
                   Asset Description                      Petition/             Estimated Net Value            Property              Sales/Funds            Asset Fully
                    (Scheduled and                      Unscheduled            (Value Determined by            Abandoned            Received by the        Administered
               Unscheduled (u) Property)                   Value                      Trustee,           OA =§ 554(a) abandon.          Estate                 (FA)/
                                                                              Less Liens, Exemptions,                                                      Gross Value of
                                                                                 and Other Costs)                                                         Remaining Assets

9      Other property of any kind not                             Unknown                        $0.00                                            $0.00                FA
       already listed Examples: Season
       tickets, country club membership
       Oil and gas leases...oil
       production. (Debtor's records, as
       verified by third party engineers,
       reflect that that property under
       lease contains approximately
       20,000,000 barrels of oil. The
       number of recoverable barrels
       depends on the extraction method.
       The value of the oil reserve is
       further based upon the
       recoverable barrels, the market
       value of oil at the time of
       extraction and the cost of
       extraction. Debtor will defer to
       expert opinions on the value.
       Further, litigation is pending
       concerning the continued validity
       of some of the oil and gas leases.
Asset Notes:      Assets included in asset #5.
10      Area of Mutual Interest and                          $90,000.00                     $12,500.00                                      $12,500.00                 FA
        Orphan Well Agreement with
        Stevens & Soldwisch Oil & Gas
        Properties I, LLC. (A Joint
        Venture in the Operation of oil &
        gas wells in Casco Twp., St. Clair
        County, Michigan. (The value of
        this venture is highly speculative.
        To date, Debtor has received
        $30,000.00 which may be subject
        to operating expenses and/or
        debts incurred in bringing the
        particular well into production.
 Asset Notes:      Order Authorizing Compromise of Claims entered on 6/9/21, docket #367
                   Stipulation filed on 6/9/21, docket #366.
11      Profits due from Area of Mutual                        Unknown                           $0.00                                            $0.00                FA
        Interest and Orphan Wells
        Agreement between Columbus
        and Stevens & Soldwisch, subject
        to pending litigation, US District
        Court, 20-11362, Eastern District
        of Michigan. Case is subject to a
        Counter Complaint.
 Asset Notes:      This asset is included in asset #10.
12      Adversary Case 20-04356                      (u)           $0.00                         $0.00                                            $0.00                FA
Asset Notes:       Assets included in asset #5.
13       Restitution                              (u)                 $0.00                    $862.37                                       $4,329.87                 FA
14     2012 Ford Super Duty Pickup                (u)                 $0.00                      $0.00                                            $0.00                FA
       Truck
Asset Notes:    Assets included in asset #5.

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                                                                                                  SUBTOTALS                 $0.00                    $0.00
                                                                             FORM 1
                                                                                                                                                          Page No:    4
                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                          ASSET CASES

Case No.:                    20-47870                                                                          Trustee Name:                           Karen E. Evangelista
Case Name:                   COLUMBUS OIL & GAS, LLC                                                           Date Filed (f) or Converted (c):        03/19/2021 (c)
For the Period Ending:       12/31/2022                                                                        §341(a) Meeting Date:                   04/14/2021
                                                                                                               Claims Bar Date:                        06/28/2021
                         1                                     2                      3                                  4                         5                      6
                  Asset Description                       Petition/               Estimated Net Value               Property                 Sales/Funds          Asset Fully
                   (Scheduled and                       Unscheduled              (Value Determined by               Abandoned               Received by the      Administered
              Unscheduled (u) Property)                    Value                        Trustee,              OA =§ 554(a) abandon.             Estate               (FA)/
                                                                                Less Liens, Exemptions,                                                          Gross Value of
                                                                                   and Other Costs)                                                             Remaining Assets


TOTALS (Excluding unknown value)                                                                                                                Gross Value of Remaining Assets
                                                           $3,499,447.05                   $3,268,178.41                                       $194,069.96           $3,067,575.95



Major Activities affecting case closing:
 12/01/2022     Trustee with assistance of counsel investigated the value of the business and business assets. There was contentious litigation with the
                landowners of the real estate which was eventually decided in the Trustee's favor after 4 hearings before the Court. There is not any further
                litigation, but Trustee and her counsel are reviewing claims for possible objections and working towards transferring of permits to reduce
                amounts owed to governmental authorities. when these matters are completed, the Trustee will move to her TFR


Initial Projected Date Of Final Report (TFR):              07/19/2022                                 /s/ KAREN E. EVANGELISTA
Current Projected Date Of Final Report (TFR):              09/01/2023                                 KAREN E. EVANGELISTA




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                                                                             FORM 2
                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                     20-47870                                                               Trustee Name:                        Karen E. Evangelista
Case Name:                   COLUMBUS OIL & GAS, LLC                                                Bank Name:                           Pinnacle Bank
Primary Taxpayer ID #:       **-***8253                                                             Checking Acct #:                     ******0250
Co-Debtor Taxpayer ID #:                                                                            Account Title:
For Period Beginning:        01/01/2022                                                             Blanket bond (per case limit):       $2,000,000.00
For Period Ending:           12/31/2022                                                             Separate bond (if applicable):


     1                 2                 3                                   4                                           5                6                   7

Transaction      Check /             Paid to/             Description of Transaction                Uniform           Deposit        Disbursement        Balance
   Date           Ref. #          Received From                                                    Tran Code            $                 $


05/25/2021           (13)   United States Treasury       Restitution                               1229-000              $27.75                $0.00                $27.75
05/25/2021           (13)   United States treasury       Restitution                               1229-000              $55.51                $0.00                $83.26
05/27/2021           (2)    Columbus Oil & Gas           Eastern Michigan Bank Checking            1129-000            $2,240.09               $0.00              $2,323.35
                                                         8885
06/22/2021           (10)   Steens & Soldwisch Oil &     Order Authorizing Compromise Of           1129-000           $12,500.00               $0.00           $14,823.35
                            Gas                          Claim P/O 6/9/2021, docket #367.
06/30/2021                  Pinnacle Bank                Service Charge                            2600-000                  $0.00             $8.13           $14,815.22
07/30/2021                  Pinnacle Bank                Service Charge                            2600-000                  $0.00            $22.02           $14,793.20
08/31/2021                  Pinnacle Bank                Service Charge                            2600-000                  $0.00            $21.98           $14,771.22
09/30/2021                  Pinnacle Bank                Service Charge                            2600-000                  $0.00            $21.24           $14,749.98
10/26/2021           (13)   United States Treasury       Restitution                               1229-000              $55.51                $0.00           $14,805.49
10/27/2021        3001      General Agency Company       General Liability Insurance Renewal       2420-000                  $0.00       $2,169.00             $12,636.49
10/29/2021                  Pinnacle Bank                Service Charge                            2600-000                  $0.00            $21.94           $12,614.55
11/30/2021                  Pinnacle Bank                Service Charge                            2600-000                  $0.00            $18.97           $12,595.58
12/31/2021                  Pinnacle Bank                Service Charge                            2600-000                  $0.00            $18.72           $12,576.86
01/31/2022                  Pinnacle Bank                Service Charge                            2600-000                  $0.00            $18.69           $12,558.17
02/01/2022           (5)    The Dragich Law Firm         Order Authorizing Compromise of           1129-000          $175,000.00               $0.00          $187,558.17
                                                         Claims and Approval of Sale of
                                                         Property Free and Clear of Liens
                                                         and Encumbrances P/O 1/10/2022,
                                                         docket #436.
02/04/2022           (13)   United States treasury       Restitution                               1229-000              $27.75                $0.00          $187,585.92
02/04/2022           (13)   United States Treasury       Restitution                               1229-000              $27.75                $0.00          $187,613.67
02/15/2022           (13)   United States Treasury       Restitution                               1229-000             $668.10                $0.00          $188,281.77
02/28/2022                  Pinnacle Bank                Service Charge                            2600-000                  $0.00         $252.31            $188,029.46
02/28/2022        3002      Gold, Lange, Majoros, PC     Attorney for Trustee Fees P/O             3210-000                  $0.00      $50,507.50            $137,521.96
                                                         2/28/2022, docket #440.
02/28/2022        3003      Gold, Lange, Majoros, PC     Attorney for Trustee Expenses P/O         3220-000                  $0.00         $637.45            $136,884.51
                                                         2/28/2022, docket #440.
03/31/2022                  Pinnacle Bank                Service Charge                            2600-000                  $0.00         $205.91            $136,678.60
04/29/2022                  Pinnacle Bank                Service Charge                            2600-000                  $0.00         $196.59            $136,482.01
05/31/2022                  Pinnacle Bank                Service Charge                            2600-000                  $0.00         $202.86            $136,279.15
06/30/2022                  Pinnacle Bank                Service Charge                            2600-000                  $0.00         $196.02            $136,083.13
07/29/2022                  Pinnacle Bank                Service Charge                            2600-000                  $0.00         $202.27            $135,880.86
08/03/2022        3004      Gold, Lange, Majoros &       Attorney for Trustee Fees P/O             3210-000                  $0.00      $10,080.00            $125,800.86
                            Smalarz, PC                  8/2/2022, docket #462.
08/03/2022        3005      Gold, Lange, Majoros &       Attorney for Trustee Expenses P/O         3220-000                  $0.00            $12.19          $125,788.67
                            Smalarz PC                   8/2/2022, docket #462.
08/08/2022           (13)   united states treasury       Restitution                               1229-000            $3,467.50               $0.00          $129,256.17
08/31/2022                  Pinnacle Bank                Service Charge                            2600-000                  $0.00         $198.22            $129,057.95
09/30/2022                  Pinnacle Bank                Service Charge                            2600-000                  $0.00         $185.63            $128,872.32
10/31/2022                Pinnacle Bank Doc 470 Service Charge                                   2600-000      $0.00                    $185.36               $128,686.96
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                                                                                               SUBTOTALS       $194,069.96                 $65,383.00
                                                                                                                                                        Page No: 2
                                                                             FORM 2
                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                       20-47870                                                                   Trustee Name:                         Karen E. Evangelista
Case Name:                     COLUMBUS OIL & GAS, LLC                                                    Bank Name:                            Pinnacle Bank
Primary Taxpayer ID #:         **-***8253                                                                 Checking Acct #:                      ******0250
Co-Debtor Taxpayer ID #:                                                                                  Account Title:
For Period Beginning:          01/01/2022                                                                 Blanket bond (per case limit):        $2,000,000.00
For Period Ending:             12/31/2022                                                                 Separate bond (if applicable):


     1                2                  3                                      4                                              5                6                    7

Transaction        Check /             Paid to/           Description of Transaction                  Uniform               Deposit        Disbursement         Balance
   Date             Ref. #          Received From                                                    Tran Code                $                 $


11/30/2022                   Pinnacle Bank                Service Charge                             2600-000                      $0.00            $185.10          $128,501.86
12/30/2022                   Pinnacle Bank                Service Charge                             2600-000                      $0.00            $191.00          $128,310.86

                                                TOTALS:                                                                    $194,069.96        $65,759.10             $128,310.86
                                                    Less: Bank transfers/CDs                                                     $0.00             $0.00
                                                Subtotal                                                                   $194,069.96        $65,759.10
                                                    Less: Payments to debtors                                                    $0.00             $0.00
                                                Net                                                                        $194,069.96        $65,759.10




For the period of 01/01/2022 to 12/31/2022                             For the entire history of the account between 05/25/2021 to 12/31/2022

Total Compensable Receipts:                          $179,191.10      Total Compensable Receipts:                                     $194,069.96
Total Non-Compensable Receipts:                            $0.00      Total Non-Compensable Receipts:                                       $0.00
Total Comp/Non Comp Receipts:                        $179,191.10      Total Comp/Non Comp Receipts:                                   $194,069.96
Total Internal/Transfer Receipts:                          $0.00      Total Internal/Transfer Receipts:                                     $0.00


Total Compensable Disbursements:                      $63,457.10      Total Compensable Disbursements:                                 $65,759.10
Total Non-Compensable Disbursements:                       $0.00      Total Non-Compensable Disbursements                                   $0.00
Total Comp/Non Comp Disbursements:                    $63,457.10      Total Comp/Non Comp Disbursements                                $65,759.10
Total Internal/Transfer Disbursements:                     $0.00      Total Internal/Transfer Disbursements:                                $0.00




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                                                                            FORM 2
                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                       20-47870                                                                  Trustee Name:                        Karen E. Evangelista
Case Name:                     COLUMBUS OIL & GAS, LLC                                                   Bank Name:                           Pinnacle Bank
Primary Taxpayer ID #:         **-***8253                                                                Checking Acct #:                     ******0250
Co-Debtor Taxpayer ID #:                                                                                 Account Title:
For Period Beginning:          01/01/2022                                                                Blanket bond (per case limit):       $2,000,000.00
For Period Ending:             12/31/2022                                                                Separate bond (if applicable):


     1                2                  3                                  4                                               5                 6                  7

Transaction        Check /             Paid to/          Description of Transaction                  Uniform              Deposit        Disbursement         Balance
   Date             Ref. #          Received From                                                   Tran Code               $                 $



                                                                                                                              NET                NET              ACCOUNT
                                                      TOTAL - ALL ACCOUNTS                                                DEPOSITS          DISBURSE             BALANCES

                                                                                                                     $194,069.96           $65,759.10            $128,310.86




For the period of 01/01/2022 to 12/31/2022                           For the entire history of the account between 05/25/2021 to 12/31/2022

Total Compensable Receipts:                         $179,191.10      Total Compensable Receipts:                                    $194,069.96
Total Non-Compensable Receipts:                           $0.00      Total Non-Compensable Receipts:                                      $0.00
Total Comp/Non Comp Receipts:                       $179,191.10      Total Comp/Non Comp Receipts:                                  $194,069.96
Total Internal/Transfer Receipts:                         $0.00      Total Internal/Transfer Receipts:                                    $0.00


Total Compensable Disbursements:                     $63,457.10      Total Compensable Disbursements:                                $65,759.10
Total Non-Compensable Disbursements:                      $0.00      Total Non-Compensable Disbursements:                                 $0.00
Total Comp/Non Comp Disbursements:                   $63,457.10      Total Comp/Non Comp Disbursements:                              $65,759.10
Total Internal/Transfer Disbursements:                    $0.00      Total Internal/Transfer Disbursements:                               $0.00




                                                                                                /s/ KAREN E. EVANGELISTA
                                                                                                KAREN E. EVANGELISTA




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